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                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

 In re:                                           §      Case No. 6:18-BK-00458-KSJ
                                                  §
 Alfredo A Herrera                                §
 Mariela E Herrera                                §
                                                  §
                                   Debtor(s)      §

                          NOTICE OF TRUSTEE’S FINAL REPORT AND
                             APPLICATION FOR COMPENSATION
                              AND DEADLINE TO OBJECT (NFR)

        Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Arvind
Mahendru, trustee of the above styled estate, has filed a Final Report and the trustee and the
trustee’s professionals have filed final fee applications, which are summarized in the attached
Summary of Trustee’s Final Report and Applications for Compensation.

        The complete Final Report and all applications for compensation are available for
inspection at the Office of the Clerk, at the following address:

          400 W Washington Suite 5100 Orlando 32801

        Any person wishing to object to any fee application that has not already been approved or
to the Final Report, must file a written objection within 21 days from the mailing of this notice,
together with a request for a hearing and serve a copy of both upon the trustee, any party whose
application is being challenged and the United States Trustee. If no objections are filed, the
Court will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009
without further order of the Court.

Date Mailed:       06/06/2019                         By: /s/ Arvind Mahendru
                                                          Trustee
Arvind Mahendru
5703 Red Bug Lake Rd. #284
Winter Springs, FL 32708




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                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION

    In re:                                                              §           Case No. 6:18-BK-00458-KSJ
                                                                        §
    Alfredo A Herrera                                                   §
    Mariela E Herrera                                                   §
                                                                        §
                                     Debtor(s)                          §

                                  SUMMARY OF TRUSTEE’S FINAL REPORT
                                  AND APPLICATIONS FOR COMPENSATION

             The Final Report shows receipts of                                                                                   $20,000.00
             and approved disbursements of                                                                                             $0.00
             leaving a balance on hand of1:                                                                                       $20,000.00


             Claims of secured creditors will be paid as follows: NONE



                                                    Total to be paid to secured creditors:                                             $0.00
                                                                      Remaining balance:                                          $20,000.00

             Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                                      Total                Interim                    Proposed
                                                                                  Requested             Payments to                   Payment
                                                                                                              Date
Arvind Mahendru, Trustee Fees                                                       $2,750.00                       $0.00             $2,750.00
Arvind Mahendru, Trustee Expenses                                                      $848.62                      $0.00                $848.62
Arvind Mahendru, Esq., Attorney for Trustee                                         $2,310.00                       $0.00             $2,310.00
Fees
Steve M. Vanderwilt, Accountant for Trustee                                            $759.00                      $0.00                $759.00
Fees
Steve M. Vanderwilt, Accountant for Trustee                                              $17.65                     $0.00                  $17.65
Expenses
Other: BK Global Real Estate Services, Realtor                                      $4,500.00                       $0.00             $4,500.00
for Trustee Fees
Other: Century 21 Carioti, Realtor for Trustee                                      $1,500.00                       $0.00             $1,500.00
Fees


1
  The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement will be
distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum
compensation set forth under 11 U.S.C. § 326(a) on account of disbursement of the additional interest.
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                    Total to be paid for chapter 7 administrative expenses:                  $12,685.27
                                                       Remaining balance:                     $7,314.73

       Applications for prior chapter fees and administrative expenses have been filed as
follows: NONE



                 Total to be paid to prior chapter administrative expenses:                       $0.00
                                                       Remaining balance:                     $7,314.73

       In addition to the expenses of administration listed above as may be allowed by the
Court, priority claims totaling $13,461.97 must be paid in advance of any dividend to general
(unsecured) creditors.

         Allowed priority claims are:

Claim         Claimant                                Allowed Amt.          Interim            Proposed
No.                                                        of Claim      Payments to           Payment
                                                                               Date
           6 Internal Revenue Service                     $13,461.97              $0.00        $7,314.73


                                        Total to be paid to priority claims:                  $7,314.73
                                                       Remaining balance:                         $0.00

        The actual distribution to wage claimants included above, if any, will be the proposed
payment less applicable withholding taxes (which will be remitted to the appropriate taxing
authorities).

         Timely claims of general (unsecured) creditors totaling $124,127.42 have been allowed
and will be paid pro rata only after all allowed administrative and priority claims have been paid
in full. The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus
interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim         Claimant                                Allowed Amt.          Interim            Proposed
No.                                                        of Claim      Payments to            Amount
                                                                               Date
           1 Cavalry Spv I, Llc                            $2,630.97              $0.00           $0.00
           2 Cavalry Spv I, Llc                           $10,367.57              $0.00           $0.00
           3 Cavalry Spv I, Llc                            $4,830.98              $0.00           $0.00
           4 Cavalry Spv I, Llc                            $4,994.51              $0.00           $0.00
           5 Discover Bank                                 $1,647.97              $0.00           $0.00

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           7 Department Stores National Bank               $1,225.93             $0.00         $0.00
           8 Capital One, N.A.                               $664.94             $0.00         $0.00
           9 American Express Centurion Bank              $31,786.13             $0.00         $0.00
         10 Capital One Bank (Usa), N.A.                   $1,462.69             $0.00         $0.00
         11 Capital One, N.A.                              $2,264.00             $0.00         $0.00
         12 Wells Fargo Bank, N.A.                         $4,268.75             $0.00         $0.00
         13 Wells Fargo Bank, N.A.                         $8,949.61             $0.00         $0.00
         14 American Express Bank, Fsb                     $5,000.00             $0.00         $0.00
         15 Quantum3 Group Llc As Agent For                  $485.04             $0.00         $0.00
         16 Quantum3 Group LLC as agent for                $2,996.73             $0.00         $0.00
         17 Quantum3 Group LLC as agent for                $1,198.59             $0.00         $0.00
         18 Synchrony Bank                                 $4,052.06             $0.00         $0.00
         19 Lvnv Funding, Llc Its Successors An            $3,898.02             $0.00         $0.00
            v Funding, Llc Its Successors And
         20 Lvnv Funding, Llc Its Successors An            $1,981.53             $0.00         $0.00
            v Funding, Llc Its Successors And
         21 Pyod, Llc Its Successors And Assign            $5,108.52             $0.00         $0.00
            d, Llc Its Successors And Assigns
            As
         22 Lvnv Funding, Llc Its Successors An            $1,102.07             $0.00         $0.00
            v Funding, Llc Its Successors And
         23 Pyod, Llc Its Successors And Assign            $1,386.19             $0.00         $0.00
            d, Llc Its Successors And Assigns
            As
         24 Pyod, Llc Its Successors And Assign            $1,125.84             $0.00         $0.00
            d, Llc Its Successors And Assigns
            As
         25 Cach, Llc Its Successors And Assign           $19,672.79             $0.00         $0.00
            h, Llc Its Successors And Assigns
            As
         26 Td Bank Usa, N.A.                              $1,025.99             $0.00         $0.00


                       Total to be paid to timely general unsecured claims:                   $0.00
                                                       Remaining balance:                     $0.00

       Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed
and will be paid pro rata only after all allowed administrative, priority and timely filed general
(unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0
percent, plus interest (if applicable).

         Tardily filed general (unsecured) claims are as follows: NONE

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                 Total to be paid to tardily filed general unsecured claims:                         $0.00
                                                        Remaining balance:                           $0.00

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
ordered subordinated by the Court totaling $446.98 have been allowed and will be paid pro rata
only after all allowed administrative, priority and general (unsecured) claims have been paid in
full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus
interest (if applicable).

       Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
ordered subordinated by the Court are as follows:

Claim         Claimant                                 Allowed Amt.           Interim            Proposed
No.                                                         of Claim       Payments to            Amount
                                                                                 Date
          6a Internal Revenue Service                          $446.98              $0.00             $0.00


                                  Total to be paid for subordinated claims:                          $0.00
                                                        Remaining balance:                           $0.00




                                          Prepared By: /s/ Arvind Mahendru
                                                       Trustee

Arvind Mahendru
5703 Red Bug Lake Rd. #284
Winter Springs, FL 32708




STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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